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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED STATES OF AMERICA,

2:02CR 0499 PGC

Plaintiff, INDICTMENT

vs. VIOLATIONS of 18 U.S.C. §8
: 2251(a) and 2252A(a) (2) (A)

Sexual Exploitation of

JOSEPH PAUL DURBOROW, Children; Receipt and
: Distribution of Chiid
Defendant. Pornography

 

The Grand Jury charges:

COUNT I
On or about June of 1998, through June of 1999, in the
Central Division of the District of Utah,
JOSEPH PAUL DURBOROW,
the defendant herein, did knowingly employ, use, persuade,
induce, entice, and coerce a minor to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such
conduct, to wit: Image #1, which visual depiction was produced
using materials that have been mailed, shipped, and transported

in interstate and foreign commerce; all in violation of Title 18,

 
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United States Code, Section 2251(a) and punishable pursuant to

Title 18, United States Code, Section 2251 ({d).

COUNT 2
On or about June of 1998, through June of 1999, in the
Central Division of the District of Utah,
JOSEPH PAUL DURBOROW,
the defendant herein, did knowingly employ, use, persuade,
induce, entice, and coerce a minor to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such
conduct, to wit: Image #2, which visual depiction was produced
using materials that have been mailed, shipped, and transported
in interstate and foreign commerce; all in violation of Title 18,
United States Code, Section 2251(a) and punishable pursuant to

Title 18, United States Code, Section 2251(d).

COUNT 3
On or about June of 1998, through June of 1999, in the
Central Division of the District of Utah,
JOSEPH PAUL DURBOROW,
the defendant herein, did knowingly employ, use, persuade,
induce, entice, and coerce a minor to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such
conduct, to wit: Image #3, which visual depiction was produced

using materials that have been mailed, shipped, and transported

 
 

 

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in interstate and foreign commerce; all in violation of Title 18,
United States Code, Section 2251(a) and punishable pursuant to

Title 18, United States Code, Section 2251(d).

COUNT 4
On or about June of 1998, through June of 1999, in the
Central Division of the District of Utah,
JOSEPH PAUL DURBOROW,
the defendant herein, did knowingly employ, use, persuade,
induce, entice, and coerce a minor to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such
conduct, to wit: Image #4, which visual depiction was produced
using materials that have been mailed, shipped, and transported
in interstate and foreign commerce; all in violation of Title 18,
United States Code, Section 2251{a) and punishable pursuant to

Title 18, United States Code, Section 2251 ({d).

COUNT 5
On or about June of 1998, through June of 1999, in the
Central Division of the District of Utah, and elsewhere,
JOSEPH PAUL DURBOROW,
the defendant herein, did knowingly receive and distribute child
pornography that had been mailed, shipped, and transported in

interstate and foreign commerce by any means, including by
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computer; All in violation of Title 18, United States Code,

Section 2252A(a) (2) (A).

A TRUE BILL:

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FOREPERSON’ OF THE GRAND JURY

PAUL M. WARNER
United States Attorney

MICHELE CHRISTIANSEN
Assistant United States Attorney
